          Case 09-31457            Doc 66       Filed 03/30/16 Entered 03/31/16 01:09:24                         Desc Imaged
                                                Certificate of Notice Page 1 of 2
                                             United States Bankruptcy Court
                                          Western District of North Carolina
In re:                                                                                                     Case No. 09-31457-ltb
Yurii Korotkov                                                                                             Chapter 13
Iryna Pavlovna Korotkov
         Debtors
                                                 CERTIFICATE OF NOTICE
District/off: 0419-3                  User: howeyc                       Page 1 of 1                          Date Rcvd: Mar 28, 2016
                                      Form ID: 246                       Total Noticed: 4


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Mar 30, 2016.
db/db          +Yurii Korotkov,   Iryna Pavlovna Korotkov,   3012 Twilight Lane,   Monroe, NC 28110-6109
cr             +BMW Financial Services NA, LLC,   C/O Hale, Dewey, & Knight, PLLC,   88 Union Avenue Suite 700,
                 Memphis, TN 38103-5128
cr              SunTrust Mortgage Inc.,,   1578 N. E. Expressway,   Atlanta, GA 30329

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
cr             +E-mail/Text: hsbbkydept@hutchensandsenter.com Mar 28 2016 18:35:58      SunTrust Mortgage, Inc.,
                 c/o Joseph J. Vonnegut,   4317 Ramsey Street,   P.O. Box 2505,    Fayetteville, NC 28302-2505
                                                                                             TOTAL: 1

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
aty               WLTadlock1
                                                                                                                    TOTALS: 1, * 0, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.
Date: Mar 30, 2016                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on March 28, 2016 at the address(es) listed below:
              Jacob C. Zweig    on behalf of Creditor   BMW Financial Services NA, LLC jzweig@evanspetree.com,
               crecord@evanspetree.com
              Joseph J. Vonnegut    on behalf of Defendant    SunTrust Mortgage, Inc. bkymail@hskplaw.com,
               troy.staley@ecf.inforuptcy.com
              Joseph J. Vonnegut    on behalf of Creditor    SunTrust Mortgage Inc., bkymail@hskplaw.com,
               troy.staley@ecf.inforuptcy.com
              Joseph J. Vonnegut    on behalf of Creditor    SunTrust Mortgage, Inc. bkymail@hskplaw.com,
               troy.staley@ecf.inforuptcy.com
              Mark Allan Baker    on behalf of Creditor    SunTrust Mortgage Inc., mark@markabakerlaw.com
              Matthew H. Crow    on behalf of Creditor    SunTrust Mortgage, Inc. matthewcrow@crowlawfirm.com,
               crowlawfirm@gmail.com,ecfonlycrowlaw@gmail.com,tarcrows@gmail.com,crowlawoffice@carolina.rr.com
              Matthew H. Crow    on behalf of Debtor Iryna Pavlovna Korotkov matthewcrow@crowlawfirm.com,
               crowlawfirm@gmail.com,ecfonlycrowlaw@gmail.com,tarcrows@gmail.com,crowlawoffice@carolina.rr.com
              Matthew H. Crow    on behalf of Plaintiff Yurii Korotkov matthewcrow@crowlawfirm.com,
               crowlawfirm@gmail.com,ecfonlycrowlaw@gmail.com,tarcrows@gmail.com,crowlawoffice@carolina.rr.com
              Matthew H. Crow    on behalf of Debtor Yurii Korotkov matthewcrow@crowlawfirm.com,
               crowlawfirm@gmail.com,ecfonlycrowlaw@gmail.com,tarcrows@gmail.com,crowlawoffice@carolina.rr.com
              Matthew H. Crow    on behalf of Plaintiff Iryna Pavlovna Korotkov matthewcrow@crowlawfirm.com,
               crowlawfirm@gmail.com,ecfonlycrowlaw@gmail.com,tarcrows@gmail.com,crowlawoffice@carolina.rr.com
              Stephen Troy Staley    on behalf of Creditor    SunTrust Mortgage, Inc. bkymail@hskplaw.com,
               troy.staley@ecf.inforuptcy.com
              Warren L. Tadlock    wtadlock@ch13clt.com
              Warren L. Tadlock    on behalf of Trustee Warren L. Tadlock wtadlock@ch13clt.com
                                                                                              TOTAL: 13
     Case 09-31457              Doc 66        Filed 03/30/16 Entered 03/31/16 01:09:24                Desc Imaged
                                              Certificate of Notice Page 2 of 2
                                            UNITED STATES BANKRUPTCY COURT
                                               Western District of North Carolina
                                                      Charlotte Division

                                                      Case No. 09−31457
                                                          Chapter 13




In Re: Debtor(s) (name(s) used in the last 8 years, including married, maiden, trade, and address):
      Yurii Korotkov                                                       Iryna Pavlovna Korotkov
          fdba Grey Goose LLC                                             aka Iryna Korotkova
       3012 Twilight Lane                                              3012 Twilight Lane
       Monroe, NC 28110                                                Monroe, NC 28110
       Social Security No.: xxx−xx−8440                                Social Security No.: xxx−xx−9624




                                  ORDER CLOSING REOPENED CASE

The Court having reviewed the record in this matter and it appearing that the above−named Chapter 13 case, having
been reopened on October 30, 2015 is now ready to be closed.

BASED UPON THE FOREGOING, IT IS HEREBY ORDERED that the above−named case be CLOSED.



Dated: March 28, 2016                                              BY THE COURT


                                                                   Laura T. Beyer
                                                                   United States Bankruptcy Judge


Electronically filed and signed (3/28/16)
